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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

‘TAMPA DIVISION
UNITED STATES ex rel.
NURDEEN MUSTAFA
Civil Action No. S. \O CN 58D -T 2
- Plaintiff,
v VR
SAMIR NAJJAR,
Defendant.

COMPLAINT

Plaintiff Nurdeen Mustafa, for his complaint against defendant Samir Najjar, alleges as follows:

INTRODUCTION

1. This is an action to recover damages and civil penalties on behalf of the United States
Government (the “Government”) brought by plaintiff as a gui tam relator pursuant to the False Claims
Act, 31 U.S.C. §§ 3729 et seq. (the “FCA”).

2. As alleged in more detail below, defendant knowingly made false statements material to,
and in order to improperly avoid paying, a monetary judgment in the amount of $3,358,440 rendered

against him by, and owed to, the Government in violation of 31 U.S.C. § 3729(a)(1)(G), als:known as

the “reverse-false-claim” provision of the FCA.

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JURISDICTION AND VENUE
3. This-Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331
and 31 U.S.C. § 3732.
4, This Court has personal jurisdiction over defendant because defendant resides, a

substantial part of the events or omissions giving rise to this action occurred, and a substantial part of the
property that is the subject of the action is situated, in the Middle District of Florida.

5. Venue is proper in this Court because defendant resides, a substantial part of the events or
omissions giving rise to this action occurred, and a substantial part of the property that is the subject of

the action is situated, in the Middle District of Florida.

PARTIES

6. Plaintiff was formerly engaged as a real estate agent for defendant and currently resides
at 3664 Market Street, Gotha, Florida. Plaintiff has personal knowledge — based on his involvement in
negotiations for the purchase and sale of real property, preparation of transactional records, and
conversations with defendant — of defendant’s fraudulent representations to avoid paying the judgment

owed to the Government

7. Defendant currently resides at 7700 Carriage Homes Dr., Orlando, Florida.
FACTS
Defendant’s Efforts To Conceal His Assets Prior To And Following Entry Of The Government’s
Judgment Against Him
8. - Paragraphs 1 through 7 are incorporated herein by reference.
9. Defendant was formerly a physician practicing medicine in Jacksonville, Florida.

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10. On September 30, 1999, defendant was charged by information by the U.S. Attorney’s
-Office for the Middle District of Florida with filing false and fraudulent claims to the U.S. Department
of Defense in connection with the Civilian Health and Medical Program of the Uniformed Services.

11. On April 4, 2000, in anticipation of the judgment that is required by his plea agreement,
defendant executed a General Power of Attorney (“POA”) in favor of his brother Lee Najjar, which gave
Lee authority to execute documents and otherwise transact business on defendant’s behalf.

12. On August 10, 2000, defendant pled guilty to the information and entered into a plea
agreement with the U.S. Attorney’s Office in which he agreed to serve thirty six (36) months in federal
prison and pay criminal and civil monetary penalties, forfeiture, and restitution of $5,000,000.

13. The Court entered a judgment against defendant according to the terms of the plea
agreement on April 27, 2001. As a result, defendant was ordered to pay the U.S. Attomey’s Office a
total amount of $5,000,000, in addition to serving prison time for filing false claims with the
Government. Defendant apparently paid $1,641,560 of what he owed to the Government prior to entry
of the judgment, leaving a $3,358,440 balance on the judgment.

14. Five days after entry of the judgment, on May 2, 2001, Lee Najjar, pursuant to the
authority granted by the POA, executed two quitclaim deeds on behalf of his brother granting Lee title to
two pieces of property that defendant owned in Duval County, Florida.

15. Ten days after entry of the judgment, on May 7, 2001, Lee Najjar executed another
quitclaim deed on behalf of defendant, transferring ownership to a parcel of property in Clay County,
Florida from defendant to Lee. Thus, within days of the entry of the judgment, two valuable pieces of

property were conveyed from defendant to his brother.
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16. Plaintiff's involvement with defendant began in 2004, after defendant had been released
-- from prison. -At the time, plaintiff was not aware of defendant’s criminal past. Plaintiff-was hired by
defendant to represent him in connection with the purchase of certain commercial vacant land located on
Goldenrod Road in Orlando, Florida (the “Goldenrod Property”).

17. On June 14, 2004, a contract was executed between between T. Walter Brashier, the then
owner of the Goldenrod Property and Lee Najjar for the purchase and sale of the property for
$1,600,000. Title to the Goldenrod Property was transferred to LN Goldenrod LLC on or about
September 17, 2004. LN Goldenrod LLC is a foreign limited liability company with its principal
address located at 4475-Rivergreen Parkway, Suite 100, Duluth, Georgia 30096 and Lee Najjar is listed
as its managing member. Lee Najjar resides in Atlanta, Georgia.

18. Plaintiff never had any communications with Lee Najjar during this transaction and the
only person he dealt with was defendant. Indeed, plaintiff asked defendant, who he regarded as his
client, why he wanted his brother’s name on the contract and defendant told plaintiff that the
Government had a judgment against him and he did not want his name to appear on the title for fear that
his ownership interest would be discovered.

19. Defendant then engaged plaintiff to represent him in other real estate deals. For example,
on or about October 1, 2004, defendant hired Global Realty Services of Central Florida, Inc. (“Global
Realty”), a firm that plaintiff represented, to list the Goldenrod Property. Then, on or around January 6,
2005, defendant executed a vacant land contract on behalf of LN Goldenrod LLC to acquire certain real
property located on Lost Lake Road in Clermont, Florida (the “First Lost Lake Property”). The escrow
deposit for this property was paid via a check from Lee Najjar. LN Goldenrod LLC ultimately

purchased the First Lost Lake property on February 25, 2005 for $250,000.

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20. On February 2, 2005, LN Goldenrod LLC purchased a condominium located at 7700
Carriage Homes Dr. in Orange County, Florida for $195,000 (the “Carriage Homes Property”). The
Carriage Homes Property is defendant’s private condominium.

Defendant Perjures Himself To The U.S. Attorney In Order To Conceal His Assets To Avoid
Paying The Government’s Judgment Against Him

21. On February 22, 2005, subsequent to the transactions described above, defendant’s
deposition was taken by an Assistant U.S. Attorney with the Financial Litigation Unit of the U.S.
Attorney’s Office For the Middle District, pursuant to a subpoena issued by that office. The purpose of
the deposition was to determine the scope of defendant’s finances in order to collect the balance of the
$3,358,440 judgment awarded against him on April 30, 2001.

22. During his deposition, defendant repeatedly lied to the Assistant U.S. Attorney in order to
feign penury. For instance, when defendant was asked to provide his current address, he falsely stated
that he resided in a rental unit located at 6854 Fallbrook, Apartment 308B in Orlando, Florida, as
opposed to the Carriage Homes Property, where he actually resides.

23. Defendant then went on to explain that the apartment is actually leased by his brother Lee
Najjar and that defendant relies on his brother to provide him with rent money each month, which Lee
gives to him in cash when he travels to Florida from Georgia or by money order sent to defendant via
U.S. mail. Yet despite being his benefactor, defendant claimed that he could not recall with any
specificity the last time he had seen his brother or where the meeting took place.

24. | Moreover, defendant completely denied having any knowledge of his brother’s business
dealings. As described above, however, defendant and his brother engaged in numerous real estate

transactions together. Through the authority conferred to Lee Najjar via the POA, defendant had his
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brother transfer title to three pieces of real estate from defendant’s name to Lee’s shortly after the

. judgment in the eriminal action had been entered against him.- Furthermore, defendant and his brother
were both involved in LN Goldenrod LLC’s acquisition of the Goldenrod, Lost Lake, and Carriage
Homes Properties. Thus, defendant was clearly lying when he testified that he had no knowledge
regarding his brother’s business.

25. Defendant also testified that he had not been employed since early 2001 and that he
survived off the approximately $1300 a month in cash he received from his brother to buy food, gas (for
the Mercedes he drives which he claims is owned by his brother ), and to pay for the telephone bill’
(although Samir testified that he used an unidentified friend’s cellular phone, not his home phone, to
contact his brother).

26. Defendant similarly testified that he has no investment income of any kind, no
promissory notes, and no bank accounts.

27. Furthermore, defendant denied being affiliated with any corporate entities, including
entities owned by his brother. Yet as noted above, defendant was clearly acting as a representative of
LN Goldenrod LLC in order to facilitate the purchase of the Goldenrod, Lost Lake, and Carriage Homes

Properties.

' Defendant testified that he could not recall the license plate number for this car or where he had parked
it, except that it was parked far away from the location of his deposition.

’ Defendant’s testimony regarding the payment of the phone bill is inconsistent, since at one point he
testified that his brother paid his phone bill for him with a check and later on he testified that he used the
cash he received each month to cover the phone bill.

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28. In sum, defendant, formerly a licensed physician for 18 years with an M.D. in pulmonary
- medicine and a Ph.D. pharmacology, proffered testimony that he was out of work, had no income or
assets of his own, and that he lived in an apartment leased by his brother and survived solely on monthly
cash disbursements from his brother.

29. This story was false. Defendant had real estate holdings of his own that he had
transferred to his brother after the judgment was entered against him in the criminal action. And once he
was released from prison, he started purchasing real property through the guise of a corporate entity
called LN Goldenrod LLC with the assistance of his brother. Defendant was the brains and driving
force behind these real estate transactions and his brother, Lee Najjar, was only involved to provide a
cover so defendant’s resources would not be discovered.

30. The U.S. Attorney’s Office did not do any further investigation of defendant’s finances
following his deposition other than an occasional public records search. Accordingly, by making false
statements to the Assistant U.S. Attorney at his deposition, defendant was able to avoid making
payments on the judgment for $3,358,440.

Defendant Continues His Fraudulent Scheme Of Sheltering His Assets By Using LN Goldenrod
LLC And His Brother’s Identity To Conduct Business

31. After the deposition with the U.S. Attorney’s Office, defendant resumed his fraudulent
scheme of hiding his assets through setting up dummy corporate entities nominally owned by his
brother, or by just using his brother’s identity.

32. Described below are several of the transactions that plaintiff was either personally
involved in or for which he has substantial knowledge that demonstrate defendant’s scheme to shelter

his assets to avoid the Government’s judgment against him.
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The Second Lost Lake Property

33. On September 22, 2005, LN Goldenrod LLC entered into a contract to purchase another
piece of real estate on Lost Lake Road in Clermont, Florida (the “Second Lost Lake Property”) for
$381,000.

34. Although the contract lists Lee Najjar as the agent of LN Goldenrod LLC, the contract
was actually signed by defendant.

35. Moreover, the check for the $10,000 earnest-money deposit for the acquisition of the
Second Lost Lake Property, which lists Lee Najjar as the holder of an account at Integrity Bank in
Roswell, Georgia upon which the check is being drawn, was signed by defendant.

36. The sale of the Second Lost Lake Property was finalized on or about November 1, 2005.

The Goldenrod Property

37. | As mentioned earlier, plaintiff and Global Realty had been marketing the Goldenrod
Property for defendant since October 2004. On March 24, 2005, LN Goldenrod, LLC entered into an
agreement to sell the Goldenrod Property for $5 million. The contract was signed by defendant even
though Lee Najjar was purportedly LN Goldenrod LLC’s principal. This sale, however, ultimately fell
through.

38. On October 1, 2005, defendant executed a Listing Agreement on behalf of LN
Goldenrod, LLC, extending Global Realty’s exclusive right to sell the Goldenrod Property until
September 30, 2006.

39.. On May 24, 2006, LN Goldenrod LLC entered into an agreement to sell the Goldenrod
Property to Abdul Musa Ali for $4,500,000, with a $775,000 earnest-money deposit. The agreement

was executed by defendant on behalf of LN Goldenrod LLC.
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40. Abdul Musa Ali thereafter assigned his agreement to purchase the Goldenrod Property to
‘Goldenrod Suid Properties, LLC. Goldenrod Suid Properties, LLC purchased the Goldenrod Property
on June 15, 2006 and paid LN Goldenrod LLC an additional $1,600,000 at closing on top of the earnest-
money deposit.

41. - Thus, LN Goldenrod LLC received approximately $2,375,000 from the sale of the
Goldenrod Property; the remaining approximately $2,125,000 of the purchase price went toward paying
off preexisting liens and closing expenses.

42. So, contrary to defendant’s testimony before the U.S. Attorney, at the time his deposition
was taken he was engaged in marketing a valuable piece of real estate through a corporate entity that he
operated — as evidenced by the October 1, 2004 Brokerage Relationship Disclosure with Global Realty
described above — and eventually sold that property for a substantial profit.

The Silver Star Property

43. Onor about April 26, 2006, LN Goldenrod LLC entered into an.agreement to acquire
certain real property in Ocoee, Florida, referred to as the “Silver Star Property,” from G & F Land
Company. Although the agreement indicated that Lee Najjar would sign on behalf of LN Goldenrod
LLC, it was in fact signed by defendant.

44, Then on May 9, 2006, defendant received a check for $100,000 from Bartow Village NS
LLC for his “Silver Star Share %.” This $100,000 was consideration in exchange for defendant’s
agreement to assign LN Goldenrod LLC’s right to purchase the Silver Star Property. Defendant,

therefore, was clearly acting as a principal of LN Goldenrod LLC by assigning contracts on its behalf

and by personally receiving compensation in exchange for the assignment.

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45. In addition, on June 13, 2006, LN Goldenrod LLC entered into an agreement with
Blessner Real Properties LLC to sell a portion of the Silver Star Property for $600,000. This contract
lists Lee Najjar as the manager of LN Goldenrod LLC, but the contract was signed by defendant, further
demonstrating that defendant was trying to hide his involvement in transactions conducted by LN
Goldenrod LLC.

The Groveland Farms Property

46. On August 3, 2006, LN Goldenrod LLC entered into a contract to purchase 9.2 acres of
vacant land in Lake County, Florida, referred to as the “Groveland Farms Property” for $1,750,000.

47. The contract was signed by defendant, although Lee Najjar was listed as the buyer’s
agent in print. In a facsimile cover sheet to plaintiff, the seller’s agent instructed with regard to the
eamest-money deposit for the sale that “Dr. Naj[j]ar make his check on behalf of the LLC.”

48. And ina later facsimile cover sheet, the seller’s agent requests that “Dr. Najjar” sign off
on an addendum to the purchase agreement as president of LN Goldenrod LLC. The addendum was
also signed by defendant, even though Lee Najjar was once again listed as LN Goldenrod LLC’s agent.

49. _ Finally, in an email dated January 17, 2007, the attorney representing defendant during
the acquisition of the Groveland Farms Property stated that defendant would like to close on the
purchase ahead of schedule and was willing to pay cash to purchase the property. This is further proof
that defendant, not his brother Lee, was the one negotiating and fronting the money for LN Goldenrod

LLC’s acquisitions.

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The 34" Street Shopping Center

50. - On September 8, 2006, defendant executed an agreement on behalf of himself or an
assignee to acquire a shopping center located at 2900 South 34" Street, Saint Petersburg, Florida (the
“34" Street Shopping Center”).

51. — Then on September 21, 2006, defendant executed another contract to purchase the
shopping center, but this time as an agent of LN Goldenrod LLC.

52. Defendant ultimately backed out of the sale after a dispute over the value of the property
and the seller thereafter sued defendant and LN Goldenrod LLC for specific performance on the
contract. The lawsuit alleged that defendant unlawfully recorded a mortgage against the 34" Street
Shopping Center for $1,600,000 in favor of LN Goldenrod LLC as the mortgagee.

53. Most notably, the lawsuit makes clear that defendant is LN Goldenrod LLC’s principal.
Indeed, Lee Najjar is not even named in the lawsuit, despite the fact that he is listed as LN Goldenrod
LLC’s manager with Florida Department of State’s Division of Corporations.

54. The lawsuit was eventually settled. In July 2008, both defendant and Lee Najjar executed
an agreement which stated that the owners of the 34" Street Shopping Center agreed to allow defendant
to market the property and receive a percentage of the sale price as a commission for his services and
that the mortgage in favor of LN Goldenrod LLC would also be paid in full from the sales proceeds.
This agreement specifically states that defendant is LN Goldenrod LLC’s principal.

The Liberty VP, Byss Realty, and Alibrandi Road Contracts
55. Three additional real estate transactions that defendant conducted, but used his brother or

LN Goldenrod LLC as a front for, are the Liberty VP, Byss Realty and Alibrandi Road contracts.

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56. On June 22, 2006, LN Goldenrod LLC entered into a contract to purchase real estate
located at 0 -West-Eau Gallie-Boulevard, Melbourne, Florida 32935 from Byss Realty LLC for
$7,400,000. This agreement, like many of the other aforementioned agreements, listed Lee Najjar as the
agent for LN Goldenrod LLC, but the contract was actually signed by defendant.

57. On June 23, 2006, LN Goldenrod LLC entered into an agreement to sell certain real
estate located in Orange County, Florida to an entity named Liberty VP Goldenrod, LLC for
$1,300,000. Defendant signed the agreement on behalf of LN Goldenrod LLC and Exhibit C to the
agreement refers to defendant as LN Goldenrod LLC’s vice president.

58.. Andon May 18, 2007, Lee Najjar purportedly executed a contract in which he agreed to
acquire real estate located at 111 Alibrandi Road, Leesburg, Florida 34748. Yet the agreement was
signed by defendant.

The Other “LN” Entities

59. Defendant is using the following entities to shelter his assets the same way he did with
LN Goldenrod LLC: LN Old Milton Parkway LLC, LN Citrus Grove LLC, LN Watertank Grove LLC,
LN Groveland LLC, LN 411-Seminole LLC, LN Oakwater Lane Properties LLC, LN Oakwater Lane 2
LLC, LN Silver Star LLC, LN Bella Mare LLC, and LN Kensington Park LLC.

60. As was the case with LN Goldenrod LLC, all these companies are foreign entities whose
principal place of business is 4475 Rivergreen Parkway, Suite 100, Duluth, Georgia 30096. And all are
engaged in the purchase and sale of real property in Florida and list Lee Najjar as their managing
member.

61. In fact, defendant’s connection to the above entities is apparent because on December 28,

2006, LN Goldenrod LLC quitclaimed title to a piece of real property to LN Citrus Grove LLC.

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62. And the property held by LN Kensington Park LLC is a five-bedroom, four-bathroom
house that-defendant purchased for his mistress, Lee Goldzweig.

63. Moreover, defendant’s use of these entities to conceal his assets from the Government
manifested itself when, on August 21, 2007, LN Old Milton Parkway LLC granted title, via limited
warranty deed, to defendant and his wife Claire Najjar to certain real property located in Orange County,
Florida.

64. Yet shortly thereafter, on October 5, 2007, the U.S. Department of Justice (DOJ)
recorded a “Notice of Lien” against defendant for the outstanding judgment of $3,358,490 with the
Orange County Comptroller’s Office, which keeps a public record of all real property documents in
Orange County.

65. Just a few months later, on May 29, 2008, defendant and his wife granted title to the
property in Orange County back to LN Old Milton Parkway LLC. Accordingly, the transfers of the
Orange County property between LN Old Milton Parkway LLC and defendant and his wife show not
only that defendant was using these LN entities to hide his real property assets, but that when the DOJ
attempted to enforce its judgment by recording a lien against his real property holdings, defendant
transferred his property back to an LN entity to prevent the lien from attaching to his assets.

VIOLATION OF THE REVERSE FALSE CLAIM PROVISION OF THE FCA 31 U.S.C,
§ 3729(a)(1)(2)

66. Paragraphs 1-64 are incorporated herein.
67. Defendant knowingly made, used, or caused to be made or used, false records or

statements material to an obligation to pay or transmit money or property to the Government, or

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knowingly concealed or knowingly and improperly avoided or decreased an obligation to pay or
transmit money or property to the Government.

68. As aresult, the Government suffered damages.

PRAYER
WHEREFORE plaintiff prays for the following relief:

1. An injunction requiring defendant to cease and desist from violating the FCA;

2. Judgment against defendant in an amount equal to three times the amount of damages
suffered by the Government;

3. Civil penalties of not less than $5,000 and not more than $11,000 for each violation of 31
U.S.C. § 3729;

4. An award to plaintiff pursuant to 31 U.S.C. § 3730(d);

5. An award of reasonable attorneys’ fees, costs and expenses;
6. Such other relief as the Court’s deem just and equitable.
JURY DEMAND

Plaintiff hereby demands a jury trial on all issues triable to a jury.

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Respectfully submitted,

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